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8
                            IN THE UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11                                        )             Case No.:2:11-CR-00490-JAM
     UNITED STATES OF AMERICA,
                                          )
12                                        )             ORDER GRANTING
                                          )             STIPULATION TO CONTINUE
13                 Plaintiff,             )
                                          )             STATUS CONFERENCE
14                                        )
                    vs.
                                          )
15                                        )
     IRINA MARKEVICH, ALEX MARKEVICH,     )
16   ANATOLIY MARKEVICH, DANIIL           )
     MARKEVICH, SVETLANA MARKEVICH,       )
17
     NATALYA MARKEVICH, DANIIL PIGLITSIN, )
                                          )
18   SERGEY PUKHKAN, and MARINA           )
     PUKHKAN,                             )
19                                        )
                   Defendants.            )
20                                        )
                                          )
21                                        )
                                          )
22                                        )
23         The Court having received, read, and considered the stipulation of the parties and
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     good cause appearing therefrom, the Court adopts the parties’ stipulation as its order in its
25
     entirety. It is ordered that the status conference presently set for November 13, 2012, at
26
     9:45 a.m. in Department 6, be continued to January 29, 2013, at 9:45 a.m. The Court
27

28   hereby finds that the requested continuance is necessary to provide defense counsel

                                                    1

                                           [PROPOSED] ORDER
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1    reasonable time necessary for effective preparation, taking into account the exercise of due

2    diligence. The Court finds the ends of justice to be served by granting a continuance
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     outweigh the best interests of the public and the defendants in a speedy trial.
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           It is ordered that the time from the date of the parties’ stipulation, November 9, 2012,
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     up to and including the January 29, 2013, status conference shall be excluded from
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7    computation of time within which the trial of this matter must be commenced under the

8    Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4
9
     (allow defense counsel reasonable time to prepare).
10
     IT IS SO ORDERED.
11
     DATE: 11/13/2012                                     /s/ John A. Mendez_____
12
                                                          HON. JOHN A. MENDEZ
13                                                        JUDGE, UNITED STATES
                                                          DISTRICT COURT
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                                           [PROPOSED] ORDER
